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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 BRIAN J. KAREM,

        Plaintiff,

 v.

 JOSEPH R. BIDEN, JR., in his official capacity as
 President of the United States; and JENNIFER                Case No. 1:19-cv-2514-JMC
 PSAKI, in her official capacity as White House Press
 Secretary,

        Defendants.


                     ORDER GRANTING PERMANENT INJUNCTION

       Pursuant to the terms of the Parties’ Joint Stay Motion, Dkt. 37, in which the official-

capacity defendants and the Plaintiff “agreed that should Plaintiff prevail on appeal . . . the Court

may convert the preliminary injunction into a permanent injunction against the White House

Press Secretary in her official capacity,” and pursuant to the further agreement of the Parties as

represented to the Court on April 8, 2021, Dkt. 43, and good cause appearing thereon and in the

record, it is hereby ORDERED that:

       (a) The preliminary and final decisions to suspend Plaintiff’s Hard Pass, conveyed in

           letters to Plaintiff dated August 2, 2019, and August 16, 2019, filed at Dkt. Nos. 3-4

           and 3-10, are hereby declared void and without force or effect;

       (b) The Office of the White House Press Secretary is permanently enjoined from

           punishing Plaintiff for any reason related to any incident that allegedly occurred at the

           White House or in the White House Rose Garden on July 11, 2019, including through

           the suspension or revocation of Plaintiff’s White House Hard Pass.




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SO ORDERED this 10 day of May 2022.

                                      _____________________________
                                        United States District Judge




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